          Case 3:17-cv-01362 Document 1509-19 Filed 01/12/22 Page 1 of 1 PageID #: 72947
   From:            Zimmerman, Chris
   Sent:            Fri, 24 Feb 2012 19:06:43 -0500 (EST)
   To:              Neu, Dave[DNeu@amerisourcebergen.com]
   Subject:         HDMA


  I spoke to John, they have softened the language in the brief. The question now is whether the submit the brief.

  Cardinal says yes, McK is not to keen on the idea in fear of retaliation from DEA, and the smaller guys could go either
  way.

  Also concerned with the optics that HOMA file brief on Monday and then testifies on Wednesday. How will DEA interpret,
  why now all the uproar from HOMA.

  I also prefaced my comments that we have know idea of what DEA has that they felt strong enough to immediately
  suspend Cardinal and 2 CVS pharmacies immediately. If DEA has strong evidence against Cardinal and HOMA weighs in
  with the impression DEA acted irresponsibly, that would not be good.

  John said he was going to think about it over the weekend. I am in Monday if you want to discuss.

  Have a good weekend.

  Chris




                                                                                                            PLAINTIFFS TRIAL
                                                                                                                EXHIBIT
                                                                                                           P-00214_00001

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                ABDC-STCT000057518
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            ABDCMDL00571243
                                                                                                                     P-00214 _ 00001
